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                                                           District of Columbia
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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV BRENDAN CARR, in his official capacity as the Chairman of the Federal
                                          Communications Commission,
                                          45 L Street NE
                                          Washington, DC 20554




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 25-716

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\      Brendan Carr, in his official capacity as Chairman of the FCC
 ZDVUHFHLYHGE\PHRQ GDWH                      03/11/2025           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           ✔
           u 2WKHU VSHFLI\  I mailed the summons and complaint via certified mail on March 12, 2025. The service
                                   package was delivered 3/21/2025. Confirmation of delivery is attached.
                                                                                                                                            


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 'DWH          04/22/2025
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                                                                                  Christine Flinton, Case Manager
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